             IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF TENNESSEE
                      WESTERN DIVISION AT MEMPHIS
_____________________________________________________________________________

KEITH CHAMBERS,                                       )
                                                      )
        Plaintiff,                                    )
                                                      )       Case No.: 2:25-cv-2210
vs.                                                   )
                                                      )       JURY DEMANDED
PGT TRUCKING, INC., and                               )
TRACY MERRITT,                                        )
                                                      )
        Defendant.                                    )


                       RESPONSE IN OPPOSITION TO
          DEFENDANTS PGT TRUCKING, INC.’S AND TRACY MERRITT’S
      MOTIONS FOR PARTIAL DISMISSAL AND JOINT MEMORANDUM OF LAW



        Plaintiff, KEITH CHAMBERS (“Plaintiff”), by and through his counsels of record, EA

KING LAW, PLLC AND LAW OFFICE OF BRANDON HALL, and for this reply to

Defendants, PGT TRUCKING, INC.’s and TRACY MERRITT’s Motions for Partial Dismissal

of Plaintiff’s punitive damages claims, and Motion for Partial Dismissal of Plaintiff’s direct

negligence claims against Defendant PGT TRUCKING, INC. and states as follows:



                           FACTS AND PROCEDURAL HISTORY

        This cause arises from a collision that occurred between a tractor-trailer (“truck”) operated

by Tracy Merritt, when he drove over the rear left side to front left side of an automobile driven

by Keith Chambers. As this Honorable Court is well aware, a full-loaded truck weighs much, much

more than an automobile—roughly twenty times more—and the laws of physics ensure that any

elastic collision between objects of such disparate mass will necessarily be violent and most likely
extremely consequential for anyone unfortunate enough to be a passenger in the smaller object. At

the time of the wreck, Defendant Tracy Merritt was acting within the course and scope of his

employment with Defendant PGT Trucking, Inc.

       This matter was filed in Federal Court based on diversity of citizenship and amount in

controversy. In his complaint, Plaintiff clearly and sufficiently pleaded claims for punitive

damages against Defendant PGT Trucking, Inc. and Defendant Tracy Merritt. Plaintiff’s

allegations in his Complaint stem from the negligent and/or reckless acts of the Defendants. See

Compl. Specifically, upon a review of COUNT 4: PUNITIVE DAMAGES, paragraphs 26

through 37 of the Complaint, Plaintiff states such factual allegations as “Due to the nature of

Defendant Tracy Merritt’s proclivity to disregard the rules of the road and his driving history,

Defendants were aware that persons on the road such as Plaintiff were likely to be harmed by

Defendant Tracy Merritt”, “Defendant PGT Trucking knew or should have known that permitting

Defendant Tracy Merritt to drive for them would lead to the injury of persons on the road, such as

the catastrophic injuries suffered by the Plaintiff” and “Defendants maliciously, intentionally,

fraudulently and/or recklessly failed to identify risks and dangers associated to the nature and

history of Defendant Tracy Merritt’s driving” Compl. ¶¶ 26 through 37. Throughout the remainder

of Plaintiff’s Complaint, he pleads multiple times that not only did each and every Defendant act

negligently, but also recklessly. For instance, in Paragraph 22, Plaintiff presents a Negligence per

se claim under City of Memphis Code of Ordinances - Section 11-16-44 and T.C.A. § 55-10-205,

titled Reckless Driving.

       Furthermore, in his complaint, Plaintiff clearly and sufficiently pleaded vicarious liability

and direct liability claims against Defendant PGT Trucking, Inc. See Compl. Specifically, upon a

review of COUNT 3: RESPONDENT SUPERIOR/NEGLIGENT ENTRUSTMENT




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paragraphs 24 through 25 of the Complaint, Plaintiff states such factual allegations as “Defendant

PGT Trucking, Inc. negligently entrusted the use of a vehicle to Defendant Tracy Merritt”,

“Defendant PGT Trucking knew or in the exercise of due diligence should have known of

Defendant Tracy Merritt’s, an employee and/or agent of Defendant PGT Trucking, Inc., propensity

and proclivity to drive in an illegal, unlawful, negligent and/or reckless manner.” Compl. ¶ 25.

        Based on the fact that Plaintiff Keith Chambers has not only alluded to negligent, reckless

actions and direct liability, and continually pleaded those actions throughout his Complaint, but

included facts related to (1) the violence of the collision, (2) the previously adjudicated

wrongdoing of defendant Merritt, and (3) the supervisory employment relationship between

defendant PGT Trucking over defendant Merritt, the Plaintiff has properly stated a claim upon

which relief for punitive damages and direct liability can be granted based on the standard set by

the Tennessee Supreme Court. Therefore, Defendants’ Motions for Partial Dismissal of Punitive

Damages and Defendant PGT Trucking, Inc.’s Motion to Dismiss direct liability claims against

itself should be DENIED.



                                    STANDARD OF REVIEW

        “Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must contain a

short and plain statement of the claim showing that the pleader is entitled to relief.” Hensley Mfg.

v. ProPride, Inc., 579 F.3d 603, 609 (6th Cir. 2009). While “labels and conclusions” and “a

formulaic recitation of the elements of a cause of action” are insufficient, a plaintiff is not required

to plead “detailed factual allegations.” Id. (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007)). Indeed, “‘[s]pecific facts are not necessary; the statement need only give the defendant

fair notice of what the . . . claim is and the grounds upon which it rests.’” In re Regions Morgan




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Keegan ERISA Litig., 692 F. Supp. 2d 944, 952 (W.D. Tenn. 2010) (quoting Erickson v. Pardus,

551 U.S. 89, 93 (2007)). “The key inquiry is whether the facts in the complaint set out ‘a claim to

relief that is plausible on its face.’” Whitney v. City of Milan, 720 F. Supp. 2d 958, 961 (W.D.

Tenn. 2010) (quoting Twombly, 550 U.S. at 570). “A claim has facial plausibility when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Hensley, 579 F.3d at 609 (citing Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009)) (emphasis added).

       “In reviewing the complaint, the court must accept as true all factual allegations in the

complaint and construe them in the light most favorable to the plaintiff.” Swanigan v. Nw. Airlines,

Inc., 718 F. Supp. 2d 917, 921 (W.D. Tenn. 2010) (citing Neitzke v. Williams, 490 U.S. 319, 326-

27 (1989)). “Where there are conflicting interpretations of the facts, they must be construed in the

plaintiff’s favor.” Id. (citing Sinay v. Lamson & Sessions Co., 948 F.2d 1037, 1039-40 (6th Cir.

1991)). Indeed, “a well-pleaded complaint may proceed even if it strikes a savvy judge that actual

proof of those facts is improbable and that a recovery is very remote and unlikely.” Whitney, 720

F. Supp. 2d at 961-62 (citing Erickson, 551 U.S. at 93-94).

       The Defendants herein have filed a Motion for Partial Dismissal pursuant to Fed. R. Civ.

P. 12(b)(6) arguing that Plaintiff’s Complaint lacks sufficient allegations to state a claim for

punitive damages against Defendants and lacks sufficient factual allegations to state a claim for

direct liability against Defendant PGT Trucking, Inc. The object of Fed. R. Civ. P. 12(b)(6) is to

test the sufficiency of the pleading. Davis H. Elliot Co. v. Caribbean Utilities Co., 513 F.2d 1176,

1182 (6th Cir. 1975). Under Bell Atlantic v. Twombly, 550 U.S. 544 (2007), a plaintiff must plead

“enough facts to state a claim to relief that is plausible on its face.” Id. at 547 (emphasis added).

However, in making its evaluation, the reviewing court must “liberally construe [the complaint]




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in favor of the plaintiff and all factual allegations and permissible inferences in the complaint are

to be accepted as true.” Kent v. Johnson, 821 F.2d 1220, 1223 (6th Cir. 1987). With these

considerations in mind, a court may only grant a motion to dismiss under Fed. R. Civ. P. 12(b)(6)

where the allegations in the Complaint are legally insufficient to entitle a plaintiff to any relief.

Dunn v. Tennessee, 697 F.2d 121, 125 (6th Cir. 1982).

       Based on a review of the arguments raised in the Defendants’ Motion for Partial Dismissal

and Plaintiff’s Complaint, it is clear that Plaintiff has met this standard. Based on the

aforementioned standards and the facts asserted herein, Plaintiff respectfully submits that the

Defendants have failed to carry their exacting burden in proving that the Plaintiff has not alleged

sufficient facts to state a cause of action against the Defendants, and, accordingly, the Defendants’

Motions for Partial Dismissal must be DENIED.

       Sub judice, Plaintiff has provided sufficient details and facts to support his claims in the

Complaint. Further, considering that the Court must view the complaint “in the light most

favorable to the Plaintiff” and accept all of the Plaintiff’s allegations as true for the purposes of

this motion, the Court must DENY Defendant’s Motion to Dismiss and allow the parties to

continue moving forward with discovery.



                                     LAW AND ANALYSIS

       I.      Plaintiff has Sufficiently Pleaded Punitive Damages. Such Pleadings Conform
               to the Pleading Standard of Federal Rule of Civil Procedure 12(b)(6).

       Under Tennessee law, a Plaintiff may be awarded punitive damages when he proves by

clear and convincing evidence that the defendant has acted maliciously, intentionally, fraudulently

or recklessly. T.C.A. § 29-39-104(a)(1) (emphasis added). Punitive damages are to be assessed

upon a Defendant in order to “punish a defendant, to deter him from committing acts or a similar



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nature, and to make a public example of him.” Huckeby v. Spangler, 563 S.W.2d 555, 558-59

(Tenn. 1978). In Tennessee, a person acts ‘recklessly’ “when the person is aware of but

consciously disregards a substantial and unjustifiable risk of such a nature that its disregard

constitutes a gross deviation from the standard of care that an ordinary person would exercise[.]”

Hodges v. S.C. Toof & Co., 833 S.W.2d 896, 901 (Tenn. 1992).

       In this case, it is more than a “mere possibility” that the defendants have acted unlawfully.

Twombly, 550 U.S. at 558. The most salient “further factual enhancement” alleged here is that an

extremely violent collision occurred between an extremely heavy truck and comparatively

lightweight passenger car in which the defendants’ extremely heavy truck was adjudicated to have

illegally swerved to cause plaintiffs’ substantial injuries. Id.; see Compl. ¶ 12-15. The Complaint’s

statement that “Defendant Tracy Merritt was found Guilty of IMPROPER LANE USAGE at his

trial in the Municipal Court of Memphis, Tennessee.” See Compl. ¶ 14. It is “egregious” and

potentially worthy of punitive damages that a driver of such an extremely large and dangerous

vehicle chose to ignore the rules of the road. It is “egregious” and potentially worthy of punitive

damages that the driver’s employer who was tasked with supervising that driver’s conduct and

might have known of and prevented such behavior nevertheless failed to prevent the illegal

conduct or collision.

       As stated above, the Plaintiff must present his evidence of the Defendants’ acts through

clear and convincing evidence. In Tennessee, the courts have determined that such evidence in

relation to recklessness, and thus the punitive damages claim, is to be submitted to a jury. “[I]f it

could be said that there was evidence of reckless driving from conditions and positions of the two

vehicles after the accident, conclusions to be drawn therefrom were for the jury.” Arnett v. Fuston,

378 S.W.2d 425 (Tenn. Ct. App. 1963). Moreover, the Plaintiff here has presented claims for




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common law Negligence, Negligence Per Se and Punitive damages. While Defendants Tracy

Merritt and PGT Trucking, Inc. attempt to claim that arguments are made sufficiently regarding

only negligence, a review of the complaint will show that both negligence and recklessness have

been clearly and sufficiently pleaded. See Compl.

       Because of such proper pleading, Plaintiff contends that these questions are ones to be

considered by a jury, and that dismissal at this early of a point would be unjust.



       II.     A Dismissal of Punitive Damages is Too Early as Discovery Has Not Yet Been
               Completed; Thus Plaintiff is Still Gathering Further Proof to Properly Prove
               Claims.

       Defendants Tracy Merritt and PGT Trucking, Inc. argue that the Plaintiff must show proof

of the actions in order for the court to proceed with the claims for punitive damages. However,

Defendants, in their Motions for Partial Dismissal, never state that Plaintiff has brought his claims

frivolously nor improperly, but with not enough facts. Considering that this Motion for Partial

Dismissal of Punitive Damages has been brought prior to discovery has begun, Plaintiff requests

that this Honorable Court deny the motion due to its premature nature.

       Considering that the Court must view the Complaint “in the light most favorable to the

Plaintiff” and accept all of the Plaintiff’s allegations as true for the purposes of this motion, this

Honorable Court should DENY Defendants’ Motions for Partial Dismissal as to Plaintiff’s claim

for Punitive Damages and allow the parties to proceed with discovery.

       The parties should be allowed to proceed with discovery because such dismissal, as here,

can only be made when the Plaintiff is unable to present proof of the claims made. Without being

provided the opportunity to partake in discovery, Plaintiff will suffer judicial inequities.

       Sub judice, there are two different actors, each of which the Plaintiff is alleging is the




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proximate cause of his injuries and losses. At this early point in litigation, it is necessary for the

Plaintiff to be allowed discovery in order to provide proof that not only is he owed compensatory

damages by the Defendants, but the Plaintiff should also receive punitive damages due to the

malicious, intentional, fraudulent, or reckless actions of all of the Defendants.



        III.    Plaintiff has properly and sufficiently pleaded a claim for direct liability of
                PGT Trucking for negligent entrustment, negligent hiring, negligent training
                and negligent supervision. Such Pleadings Conform to the Federal Rule of
                Civil Procedure 12(b)(6).

        Defendants PGT Trucking, Inc. argues to this Court that the Plaintiff must show proof of

the actions in order for the court to proceed with his direct liability claims against Defendant PGT

Trucking, Inc. Defendant, in its Motion for Partial Dismissal, never states that Plaintiff has brought

his claims frivolously nor improperly but instead asserts that there are not enough facts.

Considering that this Motion for Partial Dismissal of Plaintiff’s direct liability claims has been

brought prior to discovery has begun, Plaintiff requests that this Honorable Court deny the motion

due to its premature nature.

        Based upon these pleadings, a Court should construe the Complaint to be sufficient, if not

well-pleaded. “[A] well-pleaded complaint may proceed even if it strikes a savvy judge that the

actual proof of those facts is improbable, and that a recovery is very remote and unlikely.” Bell.

Atl. Corp. v. Twombly, 550 U.S. 544, 556 (2006).

        Here, Plaintiff has provided details and facts to support their direct liability claims as to

PGT Trucking, Inc. in the Complaint. Notably, PGT Trucking, Inc. was legally responsible for the

wrongful actions of its employee defendant Merritt.

        Further, considering that the Court must view the Complaint “in the light most favorable

to the Plaintiff” and accept all of the Plaintiff’s allegations as true for the purposes of this motion,



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this Honorable Court should DENY Defendant’s Motion for Partial Dismissal as to Plaintiff’s

claim for direct liability against Defendant PGT Trucking, Inc. and allow the parties to proceed

with discovery.

       The parties should be allowed to proceed with discovery because such dismissal, as here,

can only be made when the Plaintiff is unable to present proof of the claims made. Without being

provided the opportunity to partake in discovery, Plaintiff will suffer judicial inequities.

       Sub judice, there are two different actors, each of which the Plaintiff is alleging is the

proximate cause of his injuries and losses. At this early point in litigation, it is necessary for the

Plaintiff to be allowed discovery in order to provide proof that not only is he owed compensatory

damages by the Defendants, but the Plaintiff should also receive punitive damages due to the

malicious, intentional, fraudulent, or reckless actions of all of the Defendants (emphasis added).



       IV.     Defendants Tracy Merritt and PGT Trucking, Inc are NOT entitled to
               Attorney’s Fees pursuant to T.C.A. § 20-12-119

       Plaintiff filed a good faith and nonfrivolous lawsuit and pled clear, sufficient and valid

claims for Punitive Damages against both Defendants and Direct Liability claims against

Defendant PGT Trucking, Inc. Tennessee is a notice pleading state and failure to plead all potential

claims against Defendants would have severely harmed the Plaintiff. Tolliver v. Tellico Vill. Prop.

Owners Ass’n, 579 S.W.3d 8, 25 (Tenn Ct. App. 2019). Even if this Court rules in favor of

Defendants’ Motions for Partial Dismissal, Defendants should NOT be entitled to reasonable costs

and attorney fees pursuant to T.C.A. § 20-12-119(c)(5) as Plaintiff filed his lawsuit in good faith

and the lawsuit was nonfrivolous. Furthermore, nowhere in T.C.A. § 20-12-119 does it

contemplate or mention reasonable costs and attorney fees in circumstances of partial dismissal

only. Finally, by its express limiting language, any award of attorney’s fees under T.C.A. § 20-12-



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119 applies exclusively to grants of motions made “pursuant to Rule 12 of the Tennessee Rules of

Civil Procedure,” and not, as is the case here, under its federal complement, Rule 12(b)(6). Hence,

by its express limiting language, T.C.A. § 20-12-119 does not apply. This limitation is particularly

relevant given that the Tennessee Supreme Court has rejected the heightened federal “plausibility”

approach in favor of keeping the more permissive notice pleading standard. Webb v. Nashville

Area Habitat for Humanity, Inc., 346 S.W.422, 425 (Tenn. 2011) And because of the differing

dismissal standard in Tennessee, dismissals made under the more permissive Tennessee statute

would be more indicative of bad faith.



                                         CONCLUSION

       Defendants’ Rule 12(b)(6) motion should be DENIED. Plaintiff has pleaded sufficient facts

and “a claim has facial plausibility when the plaintiff pleads factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged.” Hensley,

579 F.3d at 609 (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).




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      Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing document was served upon the following

counsel of record by U.S. Mail, postage prepaid, the ECF system, facsimile and/or electronic mail

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On this 1st day of April 2025.



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